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UNITED STATES COURT OF APPEALS
FOR THE FOURTH CIRCUIT

INFORMAL BRIEFING

No. 23-1994, Dana Wilcox v. Rae Davis

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1:22-cv-01240-PTG-JFA

Plaintiff has submitted this case to the Court of Appeals regarding the

MEMORANDUM ORDER issued by United States District Court for the
Eastern District of Virginia, Alexandria Division, United States District
Judge Patricia T. Giles on 28 August 2023.

Jurisdiction:

1. Jurisdiction in the United States District Court is established by one or

more of the following references in the United States Code:

1-A. 28 USC 1331
1-B. 28 USC 1332

1-C. 28 USC 1391
ISSUE 1:

Sovereign Immunity

1-A.

1-B.

1-C.

Judge Giles has declared that the Defendant's claim of
Sovereign Immunity applies to the issuance and sale of GINNIE
MAE securities as stated in the Plaintiff's filing.

GINNIE MAE is exempt per Securities Act of 1933, (Section 4)
however, GINNIE MAE and BANK OF NEW YORK MELLON
are not exempt from Securities Act of 1934, Section 10(b) et
seq..), requiring Annual, et ai., reports to the SEC and TO THE
SECURITY HOLDERS for all securities including exempted
Federal Institutions issuers / sellers.

Additionally, the rules and regulations for secondary purchase
and resale of Issued Securities apply to all securities (exempted
or not) for fraud, conversion, and/ or theft and specifically
Securities Act Rule 10 (b) (5) --- “using any device, scheme, or
other artifice to defraud purchasers” --- such as material
information, Purchase and Sale of a security, Reliance on the
information, and Cause Damage, i.e., the plaintiff must suffer
some actual damages resulting from or caused by the omission

or misrepresentation.
ISSUE 2:

The Plaintiff contends that the above referenced Memorandum
Order overlooked or ignored the detailed description of the
recordkeeping requirements of the U.S. Regulations — that
includes exempted securities, i.e. 24 CFR 350, et seq..(Dkt 16).

Securities Transaction and Record Keeping

2-A.

2-C.

2-D.

Judge Giles's Memorandum Order incorrectly addresses the
sale of “New U.S. bonds for an intergovernmental project’.

The initial transaction (Dkt 1) was the sale of GNMA | securities
owned by Owen C. Meddles/Diversified Industrial Trust to
Thee Consultancy, Inc., a Delaware corporation/Dana V.
Wilcox, co-owner and Special Vice President, via contract
signed and dated 24 October 1990. These GNMA securities
were book-entry held at the Federal Reserve Bank of New
York, but were not “New Issue”. (Dkt 16)

The completion of the sale of GNMA CUSIP 36217GF28 and
GNMA CUSIP 36216GUZ9 on 18-19 December 1990 via PD
1832 Irrevocable Stock and Bond Power signed and dated by
Owen C. Meddles, et al.. (Dkt 16)

The Book-Entry System is regulated by 24 CFR Part 350, et
seq., and clearly states “...the Federal Reserve Banks as
Depositories shall treat the Participant (owner) to whose
Securities Account an interest in a Book-Entry Ginnie Mae
security has been credited to receive interest and other
payments with respect thereof and otherwise to exercise all the
rights and powers with respect to such Security...” (Dkt 16)

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2-E.

2-F.

2-H.

Bank of New York (Mellon) is the Transfer Agent for GINNIE
MAE, and Section 17A (c) of the Securities Act of 1934 requires
that Transfer Agents be registered with United States Securities
and Exchange Commission (SEC), or if the Transfer Agent is a
bank, with a bank Regulatory agency.

Transfer Agents record changes of ownership, maintain the
issuer's security holder records, cancel and issue certificates,
and distribute dividends. SEC rules and regulations are
intended to facilitate the prompt and accurate clearance and
settlement of securities transactions and that assure the
safeguarding of securities and funds.

31 CFR 1010.410 (c) states that “A record of each advice,

request, or instruction given to another financial institution or

other person located within or without the United States,
regarding a transaction intended to result in the transfer of
funds or currency, other monetary instruments, checks,
investment securities, or credit, of more than $10,000 to a
person, account or place outside the United States.” (Dkt 16)

The Exhibits (Dkt 1, Exhibit 1; Dkt 16, Exhibit 5) verify that
Dana V. Wilcox has been the owner of the funds transferred
from Mitsubishi Trust and Banking Corporation (Japan) to
Citibank (N.J.) under the terms of the Contract/Agreement
between Thee Consultancy, Inc. and Owen C. Meddles,
Diversified Industrial Trust/Delmarva Timber Trust (R.E.1.T.),
Maryland.
2-l.

2-L.

Within said Contract, Dana V. Wilcox was given specific
authorities, as an officer and Special Representative, of Thee
Consultancy, Inc., to enter said Contract regarding the use of
said funds and receive all payments of the transferred funds
and receive all payments (GNMA coupon payments and

maturity payments)... (Dkt 1 Exhibit 2 & 3)

Bloomberg Screen 1, (Dkt 1, Exhibit 12 &13) indicate the
Coupon Payments, and that it is “page 1 of 2”. Based on
information given by the bank that printed the Bloomberg
screens for the Plaintiff, the Bloomberg computer screen
indicated that PAGE 2 of 2 --- showed Thee Consultancy,
Inc. as an Owner of said GNMA Security CUSIP #
36217GF28 and GNMA Security CUSIP # 36216GUZ9.

The Defendants claim that “Ginnie Mae securities are exempt
from the laws administered by the Securities Exchange
Commission [12 U.S.C. s 1723c].”. However, the laws that

govern the Securities Industry are, but not limited to:

Securities Act of 1933, Securities Act of 1934, The Trust
Indenture Act of 1939, The Investment Company Act of 1940,
The Sarbanes-Oxley Act of 2002, The Dodd-Frank Wall Street
Reform and Consumer Protection Act of 2010, and the
Racketeer Influenced and Corrupt Organizations Act (R.I.C.O.,
1970, et al.).

The exemption of Ginnie Mae, per the Securities Act of 1933,
only extends the INITIAL BOND PURCHASE by an investor via

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the sale by the Issuer/Transfer Agent. Thereafter, all other
activities addressed in the Securities Act of 1933 and 1934
apply due to the standing FIDUCIARY, RECORD-KEEPING,
FAIR PRACTICE, and CUSTOMER PROTECTION

requirements of the aforementioned Securities laws.

ISSUE 3: APPLICATION OF R.I.C.O.

3-A. The Plaintiff has filed the complaint for the implementation of

3-B

‘Racketeer Influenced and Corrupt Organizations Act (1970, et

al.) —- specifically Sections 1961, et. seq.--- due to the money
laundering schemes of several banks during the last thirty plus
(30+) years, i.e., Bank of New York (Mellon), Citibank, Wells
Fargo, Deutsche-Bank, and Credit Suisse.

Money laundering is defined as the conversion or transfer of
property; the concealment or disguising the nature of the
proceeds; the acquisition, possession or use of property,
knowing that these are derived from criminal acts; the
participating in or assisting the movement of funds to make the
proceeds appear legitimate.

3-C. Money laundering involves three steps:

a. _ Introducing cash into the financial system by some means
(placement);

b. carrying out complex financial transactions to camouflage
the illegal source of cash/funds (layering),
3-D.

3-F.

c. acquiring wealth generated from the transactions of the
funds (integration).

Plaintiff presented (Dkt 22) in a letter to The Honorable John F.
Anderson the following cases that clarified that Sovereign
Immunity was not appropriate and named the Secretary of the
U.S. Treasury and “one or more known and/or unknown
“compliance officers” that act directly and/or under contract with
private bank or security brokerage firms... that have restricted
or denied Petitioner's lawful access to said money or securities”
that included but not limited to J.P. Morgan Chase arid
Citibank/Citigroup.

a. Ambassador Leo Wanta v. United States of America, et
al., Civil Action No. 02-1363-A, U.S. District Court for the
Eastern District of Virginia, presided by The Honorable

Gerald Bruce Lee;

b. Wanta v. Paulson, Civil Action No. 1-07-CV609, U.S.
District Court for the Eastern District of Virginia, presided
by The Honorable T.S. Ellis.

Both cases involved the issuance of subpoenas for financial

documents regarding the location of and control of funds

belonging to the Petitioner, but all parties subpoenaed refused
to cooperate.

The other application of R.I.C.O. relates to action(s) and non-

action(s) of the Bank of New York Mellon compliance officer(s),

Vice President Anthony Mancuso and the Inspection General
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3-H.

3-I.

3-J.

of GNMA/H.U.D. and Director of Operations Steward Spettel
during the Plaintiff's efforts to obtain the financial documents
related to the re-sale of the GNMA securities and payments of
Interest Coupons and Maturity funds.

The Plaintiff alleges that the Bank of New York Chief
Compliance Officer(s) did not respond to any of his inquiries
consisting of letters / affidavits submitted via certified mail. (Dkt
22).

Vice President Mancuso, instead of helping the Plaintiff, Mr.

Mancuso sent a letter as Vice President of Bank of New York

Mellon that exclusively dealt with the Wesley Sine v. The Bank
of New York, et al. (Dkt 1, Exhibit 10) --- stating that the Plaintiff
was named in the Permanent Injunction and had no right to

pursue the financial documentation regarding the GNMAs.(Dkt
1, Exhibits 7 and 8).

Plaintiff received an email from GNMA Supervisor, Senior
Account Executive, Mr. Jonathan Hughes, on February 25,
2022, stating that GINNIE MAE was reviewing his inquiry
regarding the CUSIP numbers provided and the Office of
Security Operation would be conducting the research. (Dkt 1,
Exhibit 14).

Plaintiff received an email, dated March 8, 2022, within which
Ginnie Mae determined that the “Securities” were actually
“Pooled Derivatives,” and the presented CUSIPs could not be

verified as Ginnie Mae certificates. (Dkt 1, Exhibit 15).

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3-K.

3-L.

Plaintiff received an email from Mr. Stewart M. Spettel, Director
of Operations, dated March 29, 2022, stating that the
“pools/CUSIPS have been paid in full,” and that “Ginnie Mae
cannot be a party to any dispute that the plaintiff has/had with
his investment vehicles and partners.” (Dkt 1, Exhibit 16).

The Plaintiff submitted a full document, on May 12, 2022), to
the Office of the Inspector General for the U.S. Department of
Housing and Urban Development. (Dkt 1, Exhibit 1 et seq.).

. Due to the non-response of the Bank of New York Compliance

Office and Ginnie Mae Officials regarding the initial purchase
and the contracted sale of said securities in October —
December 1990, the Plaintiff was advised by several individuals
within the banking and legal field to file a PRO SE R.1.C.O.

complaint for adjudication and relief.

ISSUE 4: Subject Matter Jurisdiction

4-A.

Under Legal Standard, within the Memorandum Order issued
by U.S. District Judge Giles, states “plaintiff bears the burden of
establishing that subject matter jurisdiction is proper by a
preponderance of the evidence when the defendant challenges
subject matter jurisdiction.” Memorandum Order, U.S. District
Court Eastern District of Virginia, August 28, 2023, p 3-4.)

. When considering a defendant’s motion to dismiss a court must

accept all well-pleaded facts as true and view those facts in the
light most favorable to the plaintiff. (True v. Robles, 571 F.3d
412, 417 [5" Cir. 2009].
4-C.

In considering a motion to dismiss, the Court must construe the
complaint in the light most favorable to the plaintiff, read the
complaint as a whole, and take the facts asserted therein as
true. (Mylan Labs, Inc. v. Matkari, 7 F.3d 1130, 1134 [4 Cir.
1993].

. The central purpose of the complaint is to provide the

defendant “fair notice of what the plaintiff's claim is and the
grounds upon which it rests,” the plaintiffs legal allegations
must be supported by some factual basis sufficient to allow the
defendants to prepare a fair response. (Conley, 355 U.S. at 47.)

ISSUE 5: RELIEF REQUESTED

5-A.

5-B.

5-C.

Plaintiff requests the Memorandum Order be dismissed.

This case be REMANDED back to U.S. District Court of
Eastern District of Virginia for re-consideration since the
occurrence of the alleged securities conversion was in October
and December 1990 --- not 2004 or 2005.

Within the REMAND ORDER, the Plaintiff requests that this
Court instruct the U.S. District Court to approve discovery and
Issue the requested subpoenas to the responsible financial
institutions identified within said motion (Dkt 17) to obtain legal
proof of the Plaintiff's allegations.

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PRIO R_ APPEALS

Plaintiff has NOT filed any other appeal to this Court.

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Signature: Dana V. Wilcox

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